              Case 2:11-cr-00210-DAD Document 220 Filed 05/09/13 Page 1 of 2


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4
     Attorney for SERGEY BLIZENKO
5

6                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     THE UNITED STATES OF AMERICA,    ) No. CR-S-11-210 JAM
8
                     Plaintiff,       )
9
                                      ) STIPULATION AND
          v.                          ) ORDER TO PROBATION TO CALCULATE
10                                    ) DEFENDANT’s CRIMINAL HISTORY SCORE
     SERGEY BLIZENKO,                 )
11                                    )
12
                     Defendant.       )
     ================================) Judge: Hon. John A. Mendez
13

14           The parties, Steve Lapham, Assistant United States Attorney, and Michael Long, attorney
15
     for Sergey Blizenko, jointly request that the court order the probation officer to draft a pre-plea
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     report for the sole purpose of calculating defendant Sergey Blizenko’s criminal history score.
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19   Dated: May 8, 2013                                      Respectfully submitted,

20                                                           /s/ Michael D. Long__________
                                                             MICHAEL D. LONG
21
                                                             Attorney for Sergey Blizenko
22

23   Dated: May 8, 2013                                      BENJAMIN WAGNER
                                                             United States Attorney
24

25                                                           /s/ Steven Lapham____
                                                             STEVEN LAPHAM
26                                                           Assistant U.S. Attorney
27

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              Case 2:11-cr-00210-DAD Document 220 Filed 05/09/13 Page 2 of 2


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6
     THE UNITED STATES OF AMERICA,    ) No. CR-S-11-210 JAM
7                    Plaintiff,       )
                                      ) ORDER TO PROBATION
8
          v.                          ) TO CALCULATE DEFENDANT’S
9
                                      ) CRIMINAL HISTORY SCORE
     SERGEY BLIZENKO,                 )
10                   Defendant.       )
     ================================) Judge: Hon. John A. Mendez
11

12          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
13   United State Probation Office prepare a pre-plea report calculating the criminal history score of
14   defendant Sergey Blizenko.
15

16
     Dated: 5/8/2013                                     /s/ John A. Mendez_____________
                                                         JOHN A. MENDEZ
17                                                       United States District Court Judge
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